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                        UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY



                                                                      MARTIN LUTHER KING
                                                                   BUILDING & U.S. COURTHOUSE
        CHAMBERS OF                                                        50 Walnut Street
       JULIEN X. NEALS                                                    Newark, NJ 07102
UNITED STATES DISTRICT JUDGE                                                (973) 645-6042


                                             September 11, 2024

                                              LETTER ORDER

      Re:      UNITED STATES OF AMERICA et al v. APPLE INC.
               Civil Action No. 24-cv-04055 (JXN) (LDW)

            Dear Counsel:

            The Court will hold oral argument on Defendant’s motion to dismiss (ECF No. 86) and directs

   the following:

            1. Argument Presentation. Oral Argument on Defendant’s motion to dismiss shall

               commence at 11:00 AM, November 20, 2024. The Court has allocated a total of four (4)

               hours for argument during the hearing, to be allocated evenly between Plaintiffs’ and

               Defendants’ presentations. The Court will make every effort to conclude the hearing on

               November 20, 2024.

            2. Technology Tutorials. In addition to the presentation of arguments on the Defendant’s

               motion to dismiss, each party shall present technology tutorials either on a separate day

               prior to the presentation of their respective argument or incorporate such tutorial

               information during the presentation of their argument. The time used to present technology

               tutorials will/will not be counted towards the parties’ allocated time limit. Should the

               parties opt to present technology tutorials on a separate day, by no later than September 18,
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           2024, the parties shall file a letter advising the Court of three dates that work for all parties

           and how they plan to present their tutorial, including the parties' proposed allocation of

           time.

        3. Technological Needs. The parties may use demonstrative aids during the hearings. The

           parties shall contact the Courtroom Deputy and the Court’s Information Technology

           Department to ensure that the Courtroom is equipped with the appropriate technology. The

           parties are directed to contact the Courtroom Deputy should the parties need access to the

           Courtroom prior to the hearing in order to install and test any equipment.



     IT IS SO ORDERED.

                                                        ________________________
                                                        JULIEN XAVIER NEALS
                                                        United States District Judge




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